                       Case 18-24646-RBR      Doc 39    Filed 03/25/19   Page 1 of 3




        ORDERED in the Southern District of Florida on March 22, 2019.




                                                           Raymond B. Ray, Judge
                                                           United States Bankruptcy Court
_____________________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION
                                        www.flsb.uscourts.gov


        In Re:                                                 CASE NO.: 18-24646-RBR
                                                               Chapter 7
        Michael A Pagano,

                    Debtor.
        ______________________________/

             ORDER AUTHORIZING EMPLOYMENT OF BK GLOBAL REAL ESTATE
                    SERVICES NUNC PRO TUNC TO FEBRUARY 18, 2019

                 THIS MATTER came on to be heard on March 20, 2019, in Fort Lauderdale, Florida,

        pursuant to the Trustee’s Application to Employ BK Global Real Estate Services pursuant to

        Local Rule 9013-1(C)(4) and 11 U.S.C. § 327 [DE#33]. The Court, having reviewed the


                                                    1
        23518650:1
               Case 18-24646-RBR          Doc 39         Filed 03/25/19   Page 2 of 3



Application, having reviewed the Listing Agreement, having reviewed the Affidavit of

Disinterestedness and it appearing that BK Global Real Estate Services, is a licensed real estate

agent, holds no interest adverse to the estate, and is a disinterested party as required by 11 U.S.C.

§327(a), and having determined that the employment of a real estate broker and agent is

necessary and in the best interest of the estate, does

       ORDER AND ADJUDGE:

       1.      The Trustee is authorized to employ BK Global Real Estate Services, as a real

estate broker and agent of the estate for the purpose of marketing and selling the real property

located at:

                        31 Seaside Court, Margate, New Jersey 08402
                 Lot 77, Block 610.01 on the Tax Map of the City of Margate

       2.      The employment is effective as of February 18, 2019 and shall terminate on

September 30, 2019 unless extended by further Order of the Court.

       3.      Compensation to BK Global Real Estate Services shall be paid and expenses

reimbursed as awarded by the Court upon proper application or in conjunction with an Order

entered by the Court approving the sale of the real property at issue.

                                                 ###

Submitted by:
Chad S. Paiva, Trustee
525 Okeechobee Blvd., Suite 900
West Palm Beach FL 33401
(561) 227-2370
trustee@gmlaw.com

Chad S. Paiva, Esq. is directed to serve copies of this Order on all interested parties listed
and file a certificate of service.




                                                  2
23518650:1
              Case 18-24646-RBR         Doc 39   Filed 03/25/19   Page 3 of 3



Electronic Mail Notice List


      Kenia L Molina kmolina@flwlaw.com, kenia@keniamolina.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Via Regular Mail:

Michael A Pagano, Debtor
3209 North East 10 Street, #4
Pompano Beach, FL 33062

Patrick Butler
BK Global Real Estate Services
1095 Broken Sound Parkway, N.W.
Suite 100
Boca Raton, FL 33487

Ashley Franchini, Realtor
Soleil Sotheby's International Realty
8502 Ventnor Avenue
Margate City, FL 08402




                                             3
23518650:1
